46 F.3d 1118
    Resort Development Corporationv.Perini Corporation v. Joseph Fabi, Inc. v. Labov MechanicalContractors v. Metalan Erectors, Inc., Portogallo (Joseph),Invenors in Camden, New Jersey, Miele (Gaetano, Dorothy),Cheripka (Marguerite), Estate of Cheripka (James), Hastings(Kent P., Joanne M.)
    NO. 94-5021
    United States Court of Appeals,Third Circuit.
    Dec 29, 1994
    Appeal From:  D.N.J., No. 90-cv-00189
    
      1
      AFFIRMED;  APPEAL DISMISSED.
    
    